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                                          UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF SOUTH CAROLINA


       In re: JAT, INC.                                      §      Case No. 13-07552-HB
                                                             §
                                                             §
                                                             §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              John K. Fort, chapter 7 trustee, submits this Final Account, Certification that the Estate has been Fully
      Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $694,722.00                             Assets Exempt: N/A
      (without deducting any secured claims)

      Total Distributions to Claimants:   $767,900.13              Claims Discharged
                                                                   Without Payment: N/A


      Total Expenses of Administration:    $216,965.84




                3) Total gross receipts of $984,865.97 (see Exhibit 1), minus funds paid to the debtor and third
      parties of $0.00 (see Exhibit 2), yielded net receipts of $984,865.97 from the liquidation of the property of the
      estate, which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                  $1,500,000.00        $1,278,357.20          $537,500.00          $537,500.00
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00          $216,873.35          $216,965.84          $216,965.84


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                 $0.00               $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                              $105,400.00           $91,222.49           $86,468.35           $86,468.35

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                            $4,131,087.00        $3,211,542.18        $3,021,591.01          $143,931.78


   TOTAL DISBURSEMENTS                         $5,736,487.00        $4,797,995.22        $3,862,525.20          $984,865.97




                 4) This case was originally filed under chapter 7 on 12/21/2013. The case was pending for 46
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        10/30/2017                        By: /s/ John K. Fort
                                                                              Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                  $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1               RECEIVED

 PREFERENCE 15-80200                                                                            1241-000                  $30,000.00

 OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES                                                     1129-000                       $455.00

 ACCOUNTS RECEIVABLE LIST ATTACHED IS APPROXIMATE                                               1129-000                       $974.06

 PREFERENCE 16-80016                                                                            1241-000                 $210,000.00

 AUTOMOBILES AND OTHER VEHICLES                                                                 1129-000                 $204,350.00

 PREFERENCE FIELDS SPECIALTY                                                                    1241-000                   $8,500.00

 DIFFERENCE BETWEEN GUARANTEED GROSS RETURN AND ACTUAL                                          1129-000                 $386,218.56
 AUCTION SALES
 Preference 15-80205                                                                            1241-000                   $3,907.00

 MISCELLANEOUS MACHINERY, FIXTURES AND EQUIPMENT.                                               1129-000                  $33,976.44

 MISC. REFUND                                                                                   1229-000                       $637.99

 PREFERENCE 15-80206                                                                            1241-000                  $27,779.41

 Preference No. 15-80202                                                                        1241-000                  $20,000.00

 Preference 15-80207                                                                            1241-000                   $9,250.00

 MISC. REFUND                                                                                   1229-000                       $317.51

 PREFERENCE OZARK MATERIALS                                                                     1241-000                   $6,000.00

 Preference No 15-80208                                                                         1241-000                   $2,500.00

 PREFERENCE 15-80201                                                                            1241-000                  $40,000.00

                             TOTAL GROSS RECEIPTS                                                                        $984,865.97

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM         $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE          PAID

                                                                          None




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EXHIBIT 3 - SECURED CLAIMS



                                       UNIFORM          CLAIMS
   Claim                                                                CLAIMS          CLAIMS           CLAIMS
              CLAIMANT                  TRAN.         SCHEDULED
    NO.                                                                ASSERTED        ALLOWED            PAID
                                        CODE        (from Form 6D)


              REPUBLIC BUSINESS        4210-000                  NA      $42,500.00     $42,500.00      $42,500.00
              CREDIT
              Utica Leaseco, LLC       4210-000                  NA     $100,000.00    $100,000.00     $100,000.00

              Utica Leaseco, LLC       4210-000                  NA     $395,000.00    $395,000.00     $395,000.00

    10-2      ENNIS PAINT, INC.        4210-000                  NA     $552,923.29          $0.00           $0.00
              DBA ENNIS TRAFFIC
              SAFETY SOUTIONS
              C/O NCS
     11       Independence National    4110-000                  NA     $187,933.91          $0.00           $0.00
              Bank
    N/F       Independence National    4110-000         $200,000.00              NA            NA              NA
              Bank
    N/F       Republic Business        4110-000         $800,000.00              NA            NA              NA
              Credit, LLC
    N/F       Utica Leaseco, LLC       4110-000         $500,000.00              NA            NA              NA

                TOTAL SECURED                          $1,500,000.00   $1,278,357.20   $537,500.00     $537,500.00




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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM         CLAIMS          CLAIMS          CLAIMS           CLAIMS
   PAYEE                                 TRAN.        SCHEDULED        ASSERTED        ALLOWED            PAID
                                         CODE

 Trustee, Fees - John K. Fort           2100-000                NA       $52,493.30     $52,493.30      $52,493.30

 Trustee, Expenses - John K. Fort       2200-000                NA        $2,608.15      $2,608.15       $2,608.15

 Attorney for Trustee Fees -            3110-000                NA        $3,916.67      $3,916.67       $3,916.67
 BRUNER POWELL WALL &
 MULLINS, LLC
 Attorney for Trustee Fees - ROE        3110-000                NA       $31,762.80     $31,762.80      $31,762.80
 CASSIDY COATES & PRICE, PA
 Attorney for Trustee, Expenses -       3120-000                NA        $6,224.91      $6,224.91       $6,224.91
 Roe, Cassidy, Coates & Price, P. A.
 Attorney for Trustee, Expenses -       3120-000                NA        $1,275.94      $1,275.94       $1,275.94
 ROE CASSIDY COATES & PRICE,
 PA
 Accountant for Trustee, Fees -         3310-000                NA         $262.50        $262.50            $262.50
 MCABEE, SCHWARTZ, HALLIDAY
 & CO.
 Accountant for Trustee, Expenses -     3320-000                NA            $0.00            $0.00           $0.00
 MCABEE, SCHWARTZ, HALLIDAY
 & CO.
 Bond Payments - BOND                   2300-000                NA          $61.25         $61.25             $61.25

 Bond Payments - JOHN K. FORT,          2300-000                NA          $50.65         $50.65             $50.65
 TRUSTEE
 Bond Payments - John K. Fort           2300-000                NA            $0.00        $92.49             $92.49

 Banking and Technology Service         2600-000                NA        $5,949.39      $5,949.39       $5,949.39
 Fee - Rabobank, N.A.
 Attorney for Trustee Fees (Other       3210-000                NA      $106,711.76    $106,711.76     $106,711.76
 Firm) - Roe, Cassidy, Coates &
 Price, P. A.
 Attorney for Trustee Expenses          3220-000                NA        $4,499.38      $4,499.38       $4,499.38
 (Other Firm) - Roe, Cassidy,
 Coates & Price, P. A.
 Attorney for Trustee Expenses          3220-000                NA        $1,056.65      $1,056.65       $1,056.65
 (Other Firm) - BRUNER POWELL
 WALL & MULLINS, LLC
 TOTAL CHAPTER 7 ADMIN. FEES
                                                                NA      $216,873.35    $216,965.84     $216,965.84
        AND CHARGES




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EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                           UNIFORM               CLAIMS              CLAIMS              CLAIMS               CLAIMS
          PAYEE
                          TRAN. CODE           SCHEDULED            ASSERTED            ALLOWED                PAID

                                                            None




 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                          CLAIMS
                                      UNIFORM          CLAIMS
                                                                         ASSERTED             CLAIMS              CLAIMS
 CLAIM NO.        CLAIMANT             TRAN.        SCHEDULED
                                                                      (from Proofs of        ALLOWED               PAID
                                       CODE        (from Form 6E)
                                                                           Claim)

     3P      SC Dept of Rev. & Tax    5800-000                 NA              $6,247.13          $6,247.13        $6,247.13


     4P      Internal Revenue         5800-000                 NA           $80,221.22        $80,221.22          $80,221.22
             Service Centralized
             Insolvency Operation

     14      GREENVILLE               5800-000           $5,200.00             $4,754.14             $0.00             $0.00
             COUNTY TAX
             COLLECTOR

    N/F      Greenville County        5800-000           $5,200.00                   NA                 NA               NA
             Auditor

    N/F      Internal Revenue         5800-000          $75,000.00                   NA                 NA               NA
             Service Centralized
             Insolvency Operation

    N/F      SC Dept of Rev. & Tax    5800-000          $15,000.00                   NA                 NA               NA


    N/F      SC Dept. of              5800-000           $5,000.00                   NA                 NA               NA
             Employment &
             Workforce

           TOTAL PRIORITY
          UNSECURED CLAIMS                             $105,400.00          $91,222.49        $86,468.35          $86,468.35




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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                          CLAIMS
                                       UNIFORM          CLAIMS
                                                                         ASSERTED         CLAIMS           CLAIMS
 CLAIM NO.        CLAIMANT              TRAN.        SCHEDULED
                                                                      (from Proofs of    ALLOWED            PAID
                                        CODE        (from Form 6F)
                                                                           Claim)

     1       Penske Truck Leasing      7100-000           $2,427.00          $2,427.99     $2,427.99           $115.93
             Co., L.P.

     2       Weissker                  7100-000          $93,000.00         $82,461.85    $82,461.85       $3,937.08
             Manufacturing LLC

     3U      SC Dept of Rev. & Tax     7300-000                 NA              $62.21       $62.21              $0.00


     4U      Internal Revenue          7300-000                 NA           $3,994.56     $3,994.56             $0.00
             Service Centralized
             Insolvency Operation

     5       MORRIS BUSINESS           7100-000             $300.00            $236.34      $236.34             $11.29
             SOLUTIONS

     6       James Seals & Stripes,    7100-000                 NA          $17,550.39         $0.00             $0.00
             Inc. c/o Moretz &
             Skufca, PLLC

     7       Batson Accounting and     7100-000             $935.00            $937.49      $937.49             $44.76
             Tax

     8       SunTrust Bank Attn:       7100-000                 NA          $11,584.95    $11,584.95           $553.11
             Support Services

     9       James A. Trippe Jr.       7100-000         $125,000.00        $129,014.38         $0.00             $0.00


     10      ENNIS PAINT, INC.         7100-000                 NA         $119,934.69   $119,934.69       $5,726.17
             DBA ENNIS TRAFFIC
             SAFETY SOUTIONS
             C/O NCS

     12      PAUL TRIPPE               7100-000                 NA          $83,578.21    $83,578.21       $3,990.36


    12U      PAUL TRIPPE               7100-000                 NA          $17,991.00    $17,991.00           $858.96


     13      BLYTHE BROTHERS           7100-000                 NA          $43,386.40         $0.00             $0.00
             ASPHALT CO LLC
             ATTN ROBERT
             MCKINNEY

     15      GENE D. MORIN,            7100-000                 NA         $125,000.00   $125,000.00       $5,968.01
             CONSERVATOR FOR
             KATELIN TRIPPE
             JACQUELINE H.
             PATTERSON, ESQ.

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     16       Kennison Dudley &       7100-000                 NA       $6,432.50       $6,432.50           $307.11
              Crawford

     17       Ozark Materials, LLC    7100-000         $145,000.00    $153,094.77     $153,094.77       $7,309.37
              c/o George W. Thomas
              Gilpin Givhan, PC

     18       FLINT TRADING INC       7100-000         $966,000.00     $14,931.55      $14,931.55           $712.89
              ENNIS-FLINT ATTN:
              TED NAVILSKAS,
              GENERAL COUNSEL

     19       ENNIS PAINT INC         7100-000         $966,000.00   $1,799,668.25   $1,799,668.25     $85,923.50
              ENNIS-FLINT ATTN:
              TED NAVILSKAS,
              GENERAL COUNSEL

    20-2      Companion Property      7100-000                 NA     $552,985.87     $552,985.87      $26,401.80
              and Casualty
              Insurance Company
              c/o John Northrop
              National Claim
              Services

     21       Precept Staffing Inc    7200-000           $2,728.00      $2,882.38       $2,882.38             $0.00


     22       CHRISTOPHER             7200-000                 NA           $0.00           $0.00             $0.00
              TRUCKS

     23       CHRISTOPHER             7200-000                 NA           $0.00           $0.00             $0.00
              TRUCKS

     24       BLYTHE BROTHERS         7100-000                 NA      $43,386.40      $43,386.40       $2,071.44
              ASPHALT CO LLC
              ATTN ROBERT
              MCKINNEY

    N/F       AMEX                    7100-000         $120,000.00             NA              NA               NA


    N/F       AT&T Universal          7100-000            $400.00              NA              NA               NA


    N/F       Advance Tape            7100-000           $9,175.00             NA              NA               NA
              Markings

    N/F       American Towing &       7100-000          $15,596.00             NA              NA               NA
              Recovery

    N/F       Amerigas                7100-000           $6,231.00             NA              NA               NA


    N/F       Andy Oxy                7100-000             $57.00              NA              NA               NA


    N/F       Atlas COPC Const.       7100-000            $804.00              NA              NA               NA




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    N/F      BANNISTER, WYATT             7100-000           $5,311.00          NA               NA          NA
             & KAPPEL, LLC

    N/F      BC Cannon                    7100-000           $7,023.00          NA               NA          NA


    N/F      Batson Accounting and        7100-000            $935.00           NA               NA          NA
             Tax

    N/F      Christopher Trucks           7100-000           $4,835.00          NA               NA          NA


    N/F      Clarkson Walsh Terrell       7100-000           $1,593.00          NA               NA          NA
             & Coulter

    N/F      DOBCO, Sherwin               7100-000         $300,000.00          NA               NA          NA
             Williams c/o Grim ball
             & Cabaniss, LLC

    N/F      Echols Oil                   7100-000            $513.00           NA               NA          NA


    N/F      Eller Diesel Truck &         7100-000           $4,318.00          NA               NA          NA
             Trailer

    N/F      Ennis Flint/Paint/Traffic    7100-000         $966,000.00          NA               NA          NA
             Safety

    N/F      Estill Gas Company           7100-000            $374.00           NA               NA          NA


    N/F      Haynes Locksmith             7100-000            $150.00           NA               NA          NA
             Shop

    N/F      James A. Trippe Jr.          7100-000         $125,000.00          NA               NA          NA


    N/F      Kennison Dudley &            7100-000               $0.00          NA               NA          NA
             Crawford

    N/F      Labor Finders                7100-000           $4,003.00          NA               NA          NA


    N/F      Linder Industrial            7100-000            $200.00           NA               NA          NA
             Machinery Co

    N/F      Morris Business              7100-000            $300.00           NA               NA          NA
             Solutions

    N/F      Ozark                        7100-000         $145,000.00          NA               NA          NA


    N/F      Penske                       7100-000           $2,427.00          NA               NA          NA


    N/F      Pitney Bowes                 7100-000            $196.00           NA               NA          NA


    N/F      Precept Staffing             7100-000           $2,728.00          NA               NA          NA



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    N/F      Research Derivitaves    7100-000         $2,706.00              NA              NA             NA


    N/F      SC Department of        7100-000             $0.00              NA              NA             NA
             Transportation

    N/F      Suburban Propane        7100-000           $687.00              NA              NA             NA


    N/F      Sunbelt Rentals         7100-000         $5,409.00              NA              NA             NA


    N/F      Thomas Gasco            7100-000         $4,224.00              NA              NA             NA


    N/F      Uline                   7100-000           $405.00              NA              NA             NA


    N/F      WCI of SC               7100-000            $97.00              NA              NA             NA


    N/F      Weissker                7100-000        $93,000.00              NA              NA             NA
             Manufacturing

    N/F      Wells Fargo             7100-000             $0.00              NA              NA             NA


            TOTAL GENERAL
           UNSECURED CLAIMS                        $4,131,087.00   $3,211,542.18   $3,021,591.01    $143,931.78




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                                                                                                                                                                                                      Exhibit 8
                                                                                        Form 1
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                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:    13-07552-HB                                                                                                                     Trustee Name:      (600020) John K. Fort
Case Name:      JAT, INC.                                                                                                                    Date Filed (f) or Converted (c): 12/21/2013 (f)
                                                                                                                                             § 341(a) Meeting Date:     02/19/2014
For Period Ending:         10/30/2017                                                                                                        Claims Bar Date: 05/23/2014

                                                     1                                                 2                            3                          4                        5                    6

                                            Asset Description                                       Petition/               Estimated Net Value         Property Formally         Sale/Funds            Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                         Unscheduled          (Value Determined By Trustee,       Abandoned            Received by the      Administered (FA)/
                                                                                                     Values               Less Liens, Exemptions,      OA=§554(a) abandon.          Estate            Gross Value of
                                                                                                                              and Other Costs)                                                       Remaining Assets

  Ref. #

    1       COMMERCIAL BUILDINGS AND LAND LOCATED AT 5135                                             300,000.00                        100,000.00                                            0.00                        FA
            LO
            Orig. Description: Commercial Buildings and Land, located at
            5135 Locust Hill Road, Travelers Rest, SC
            Tax Map #0648050100305
            Tax assessed value $201,130.00
            Debtor believes value to be
            closer to $300,000.00
            362 Motion filed by Lienholder, Independence National Bank

    2       TD BANK ACCOUNT 7100858204 (NEGATIVE BALANCE)                                                       0.00                            0.00                                          0.00                        FA
            Original Description: TD Bank Account
            7100858204 (Negative Balance)

    3       INDEPENDENCE BANK 200008233 (NEGATIVE BALANCE)                                                      0.00                            0.00                                          0.00                        FA
            Original Description: Independence Bank
            200008233 (Negative balance)

    4       PROTECTIVE LIFE TERM LIFE INSURANCE POLICY DEBTO                                                    0.00                            0.00                                          0.00                        FA
            Original Description: Protective Life Term Life Insurance Policy
            Debtor Owner
            Paul Trippe
            Insured Beneficiaries: Trippe's Children;

   5*       ACCOUNTS RECEIVABLE LIST ATTACHED IS                                                   1,303,687.00                         503,687.00                                          974.06                        FA
            APPROXIMATE
            Origiinal Description: Accounts Receivable
            List Attached is Approximate; Trustee has determined that the remaining A/R are
            uncollectible. (See Footnote)




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                                                                                                                                                                                               Exhibit 8
                                                                                         Form 1
                                                                                                                                                                                               Page: 2
                                                                     Individual Estate Property Record and Report
                                                                                      Asset Cases
Case No.:    13-07552-HB                                                                                                              Trustee Name:      (600020) John K. Fort
Case Name:      JAT, INC.                                                                                                             Date Filed (f) or Converted (c): 12/21/2013 (f)
                                                                                                                                      § 341(a) Meeting Date:     02/19/2014
For Period Ending:         10/30/2017                                                                                                 Claims Bar Date: 05/23/2014

                                                     1                                          2                            3                          4                        5                    6

                                            Asset Description                                Petition/               Estimated Net Value         Property Formally         Sale/Funds            Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                  Unscheduled          (Value Determined By Trustee,       Abandoned            Received by the      Administered (FA)/
                                                                                              Values               Less Liens, Exemptions,      OA=§554(a) abandon.          Estate            Gross Value of
                                                                                                                       and Other Costs)                                                       Remaining Assets

  Ref. #

    6       INSURANCE CLAIMS WESTFIELD INSURANCE                                                         0.00                            0.00                                          0.00                        FA
            COMPANIES C
            Original Description: Insurance Claims
            Westfield Insurance Companies
            c/o BB&T - CIC
            864-297-4444
            Claim Numbers: NR-CMM-4995592-10-04-13-A, R-CMM-4995592-07-30-13-
            A,NR-CMM-4995592-06-17-13-A
            Value of these claims is unliquidated and therefore, unknown.

    7       BOND CLAIM AGAINST: MAYMEAD, INC. AND TRAVELERS                                     51,428.00                         51,428.00                                            0.00                        FA
            Original Description: Bond Claim against
            Maymead, Inc. and Travelers Casualty and Surety Company
            of America
            Value of Claim is unliquidated and therefore, unknown.

    8       BOND CLAIM AGAINST: BOGGS PAVING INC. AND LIBERT                                    84,096.00                         84,096.00                                            0.00                        FA
            Original Description: Bond Claim against
            Boggs Paving Inc. and
            Liberty Mutual Insurance Company
            Value of claim is unliquidated and therefore, unknown.

    9       BOND CLAIM AGAINST: RILEY PAVING                                                   152,947.00                        152,947.00                                            0.00                        FA
            Original Description: Bond Claim against
            Riley Paving
            Value of claim is unliquidated and therefore, unknown.

   10       BOND CLAIM AGAINST: S.T. WOOTEN CORP.                                                   8,251.00                        8,251.00                                           0.00                        FA
            Original Description: Bond Claim against
            S.T. Wooten Corporation
            Value of claim is unliquidated and therefore, unknown.

   11       AUTOMOBILES AND OTHER VEHICLES                                                     598,500.00                         98,500.00                                   204,350.00                           FA
            All automobiles and other vehicles sold in one lot at Auction.

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                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:    13-07552-HB                                                                                                                         Trustee Name:      (600020) John K. Fort
Case Name:      JAT, INC.                                                                                                                        Date Filed (f) or Converted (c): 12/21/2013 (f)
                                                                                                                                                 § 341(a) Meeting Date:     02/19/2014
For Period Ending:         10/30/2017                                                                                                            Claims Bar Date: 05/23/2014

                                                     1                                                     2                            3                          4                        5                    6

                                            Asset Description                                           Petition/               Estimated Net Value         Property Formally         Sale/Funds            Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                             Unscheduled          (Value Determined By Trustee,       Abandoned            Received by the      Administered (FA)/
                                                                                                         Values               Less Liens, Exemptions,      OA=§554(a) abandon.          Estate            Gross Value of
                                                                                                                                  and Other Costs)                                                       Remaining Assets

  Ref. #

   12       OFFICE EQUIPMENT, FURNISHINGS AND SUPPLIES                                                          500.00                           500.00                                         455.00                        FA
            All office equipment, furnishings and supplies sold in one lot at Auction.

   13       MISCELLANEOUS MACHINERY, FIXTURES AND                                                         198,110.00                        198,110.00                                      33,976.44                         FA
            EQUIPMENT.
            All machinery, fixtures and equipment sold in one lot at Auction.

   14       INVENTORY OF WORK PRODUCT                                                                      88,000.00                         88,000.00                                            0.00                        FA
            Trustee determined he was unable to liquidate the Inventory of Work Product
            (Work in Progress), therefore, value is -0-.

   15       SHOP CAMERA SECURITY SYSTEM (SPI SECURITY                                                      10,000.00                         10,000.00                                            0.00                        FA
            INSTAL
            OriginalDescription: Shop Camera Security System
            SPI Security installed

   16       MISC. REFUND (u)                                                                                   Unknown                           317.51                                         317.51                        FA
            Kansas City Life Insurance

   17       MISC. REFUND (u)                                                                                        0.00                         637.99                                         637.99                        FA
            B B & T Insurance Services, Inc.

   18       DIFFERENCE BETWEEN GUARANTEED GROSS RETURN                                                              0.00                    386,218.56                                   386,218.56                           FA
            AND ACTUAL AUCTION SALES
            The Auctioneer guaranteed a return of $625,000.00 at auction. The auction netted
            $238,781.44 is reflected in Assets #11, #12, and #13. The Auctioneer attempted
            to sell the assets for more, but was not successful so, on 07/29/15, the Auctioneer
            said they had ceased trying to resell the assets (#11, #12, and #13) for more than
            the auction price. This entry reflects the difference between $625,000.00 and
            $238,781.44. The $625,000.00 was paid on 06/04/14.

   19       PREFERENCE 15-80206 (u)                                                                                 0.00                     27,779.41                                      27,779.41                         FA
            FORT V WELLS FARGO BANK, NA


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                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:    13-07552-HB                                                                                                                  Trustee Name:      (600020) John K. Fort
Case Name:       JAT, INC.                                                                                                                Date Filed (f) or Converted (c): 12/21/2013 (f)
                                                                                                                                          § 341(a) Meeting Date:     02/19/2014
For Period Ending:         10/30/2017                                                                                                     Claims Bar Date: 05/23/2014

                                                     1                                              2                            3                          4                        5                      6

                                            Asset Description                                    Petition/               Estimated Net Value         Property Formally         Sale/Funds              Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                      Unscheduled          (Value Determined By Trustee,       Abandoned            Received by the        Administered (FA)/
                                                                                                  Values               Less Liens, Exemptions,      OA=§554(a) abandon.          Estate              Gross Value of
                                                                                                                           and Other Costs)                                                         Remaining Assets

  Ref. #

   20       PREFERENCE FIELDS SPECIALTY (u)                                                                  0.00                       9,000.00                                         8,500.00                        FA
            Settled prior to filing an adversary. Settlement of $8,500.00.
            Deposit made: 03/28/16 $3,000.00, 05/15/16 $3,000.00, and 08/11/16 $2,500.00

   21       VOID (u)                                                                                     VOID                               VOID          VOID                             VOID                   VOID
            FORT V BANK OF AMERICA, NA
            See Asset #25

   22       VOID (u)                                                                                     VOID                               VOID          VOID                             VOID                   VOID
            FORT V SUNTRUST BANKS INC.
            See Asset #27

   23       VOID (u)                                                                                     VOID                               VOID          VOID                             VOID                   VOID
            FORT V TD BANK
            See Asset #28

   24       PREFERENCE OZARK MATERIALS (u)                                                                   0.00                       6,000.00                                         6,000.00                        FA
            Settlement of $6,000.00 prior to filing an adversary.
            Deposit 04/11/16 $6,000.00

   25       Preference 15-80207 (u)                                                                          0.00                       9,250.00                                         9,250.00                        FA
            Fort vs Bank of America 15-80207
            Deposit 4/14/16 $9,250.00

   26       Preference 15-80205 (u)                                                                          0.00                       3,907.00                                         3,907.00                        FA
            Fort vs. BB&T 15-80205
            Deposit 04/14/16 $3,907.00

   27       Preference No 15-80208 (u)                                                                       0.00                       2,500.00                                         2,500.00                        FA
            Fort vs. Suntrust Banks, Inc. 15-80208
            Deposit 04/14/16 $2,500.00




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                                                                  Individual Estate Property Record and Report
                                                                                   Asset Cases
Case No.:    13-07552-HB                                                                                                            Trustee Name:      (600020) John K. Fort
Case Name:      JAT, INC.                                                                                                           Date Filed (f) or Converted (c): 12/21/2013 (f)
                                                                                                                                    § 341(a) Meeting Date:     02/19/2014
For Period Ending:        10/30/2017                                                                                                Claims Bar Date: 05/23/2014

                                                   1                                          2                            3                          4                        5                   6

                                           Asset Description                               Petition/               Estimated Net Value         Property Formally         Sale/Funds           Asset Fully
                                (Scheduled And Unscheduled (u) Property)                 Unscheduled          (Value Determined By Trustee,       Abandoned            Received by the     Administered (FA)/
                                                                                            Values               Less Liens, Exemptions,      OA=§554(a) abandon.          Estate           Gross Value of
                                                                                                                     and Other Costs)                                                      Remaining Assets

  Ref. #

   28       Preference No. 15-80202 (u)                                                                0.00                     20,000.00                                      20,000.00                        FA
            Fort vs TC Bank, NA 15-80202
            Deposit 04/14/16 $20,000.00

   29       PREFERENCE 15-80200 (u)                                                                    0.00                     43,765.88                                      30,000.00                        FA
            Fort vs Capital One 15-80200
            Deposit 08/25/16 $30,000.00

   30       PREFERENCE 15-80201 (u)                                                                    0.00                     52,911.55                                      40,000.00                        FA
            Fort vs Ennis Paint 15-80201
            Deposit 08/31/16 $40,000.00

   31       PREFERENCE 16-80016 (u)                                                                    0.00                    821,870.54                                    210,000.00                         FA
            Fort vs American Express 16-80016
            Deposit 04/26/17 $70,000.00 and $140,000.00

   31       Assets              Totals       (Excluding unknown values)                  $2,795,519.00                    $2,679,677.44                                     $984,865.97                  $0.00


     RE PROP# 5           Deposit 3/18/14 Linder Industrial: 195.26
                          Deposit 3/18/14 Magnolia Financial: 723.15
                          Deposit 4/14/14 Williams Scotsman: 55.65




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                                                                       Asset Cases
Case No.:    13-07552-HB                                                                                              Trustee Name:      (600020) John K. Fort
Case Name:     JAT, INC.                                                                                              Date Filed (f) or Converted (c): 12/21/2013 (f)
                                                                                                                      § 341(a) Meeting Date:    02/19/2014
For Period Ending:     10/30/2017                                                                                     Claims Bar Date: 05/23/2014


      Major Activities Affecting Case Closing:
                                 7/1/14
                                 Debtor was in the business of putting lines/stripes on highways. The assets consisted of equipment mounted on trailers/trucks, a small amount of
                                 inventory, and the real estate. Information was scarce at the beginning of the case since the schedules were not filed until approximately 30 days after
                                 filing. There were two liens on the equipment and vehicles. Uticalease had a first lien on vehicles (perfected late) and equipment. Republic Business
                                 Credit had a second lien on equipment and a first lien on accounts receivable. It should be noted that the titled (vehicles and trailers) could not be
                                 separated from the equipment without destroying both the titled item and the equipment. The trustee received a call days after the filing from Uticalease
                                 concerning the status of the vehicles. Trustee obtained the gate codes and inspected the premises. He also removed the computers and records and
                                 took them back to his office. It was apparent some equipment was missing and the principal of the debtor said it was in Kannapolis, NC. Trustee went
                                 to the location and found only some of the equipment. The balance was later located at a towing facility. UticaLease contacted several auction
                                 companies to hold an auction with a guaranteed result. The best arrangement was with Hilco Industrial, LLC. The asset purchase agreement was
                                 negotiated with Hilco, Utica and Republic with a $625,000 guarantee. Uticalease agreed to a reduction in their payoff based on the perfection issue on
                                 the vehicles. The estate was guaranteed 10% of the gross sale with a minimum of $62,500. The auction was held and the minimum was not met so the
                                 estate received $62,500. Trustee has met with Roe, Cassidy about representing the estate in pursuing potential causes of action, including actions
                                 under 547/548. They also assisted in following up on research by trustee as to the equipment/vehicle perfection issues. There are also issues involving
                                 how the business lost so much money in the last 6 months. It is anticipated they will be appointed in the next 60 days. Bob Faulkner will also be
                                 appointed.

                                 7/15 ACTIVITY DURING REPORTING PERIOD

                                 9/14
                                 Met with Amber, Josh and Terri Trippe, Paul's estranged wife. She gave leads to where she thought assets may be secreted and explained the
                                 relationship between Paul Trippe and Tricia.

                                 11/14
                                 Discussions with Roe Cassidy and Terri Trippe leads appear weak at best--scorned woman. Atty Hebron may have lead on a fraudulent
                                 transfer/preference to the paint company. Referred him to Roe Cassidy.

                                 1/15
                                 2004 of JAT (Trippe) cancelled. Roe Cassidy thinks action vs. Paul is a dead end and he appears broke.

                                 6/15 followed up on email from April about rescheduling the 2004 and reminded them about maybe 548 v. Am. Express. reviewed claims. objections
                                 will be filed after annuals are submitted.

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                                                                        Asset Cases
Case No.:    13-07552-HB                                                                                              Trustee Name:      (600020) John K. Fort
Case Name:     JAT, INC.                                                                                              Date Filed (f) or Converted (c): 12/21/2013 (f)
                                                                                                                      § 341(a) Meeting Date:    02/19/2014
For Period Ending:     10/30/2017                                                                                     Claims Bar Date: 05/23/2014

                                 ACTIVITY DURING REPORTING PERIOD 7/1/2015 THRU 6/30/16

                                 8/15 still explaining to Josh about AmEx and why it appears to be a 548 action--paying personal card using estate funds.

                                 10/15 Dana Leahy represents bank with building. Called to say all of the siding had been removed from the building. Told her it was complete at the
                                 end of last year when we left it. She filed insurance claim--called later to say it was paid.

                                 12/15: Josh Hudson filed the remaining 547/548 actions. Had a couple of conflicts and I suggested they send them to Joey Floyd. Got Floyd appointed
                                 and all actions filed. Actions v. Capital Bank, Ennis Paint, TD Bank, Paul Trippe,James Seals and Stripes, BBT, WF, BofA, SunTrust, Ozark

                                 1/16 Dismissed James Seal case

                                 2/16 Settled Ozark and Fields

                                 2/16 Settled BofA

                                 3/16 Settled for atty fees basically with Sun Trust

                                 3/16 Claims reviewed and objections filed. Orders entered. Appointed McAbee Schwartz to prepare tax returns.

                                 4/16 Last month fiasco with BBT default then hearing setting aside default then settled

                                 6/16 Found Trippe filed personally

                                 8/16 Met Josh ref Amex--remaining adversary.

                                 9/16 Discuss numerous times with Hudson--resolution of Amex. Atty in Atlanta rather unreasonable--move forward to try

                                 11/16 Have continued discussions. Met J. Hudson for game plan --decided we would stay hardline on our claim--not going to negotiate against
                                 ourselves. Will continue adversary

                                 2/22/17 Update request sent to Josh Hudson

                                 2/23/17 Mediation before Johnny Butler at HBWG offices. Settled all issues with American Express

                                 3/21/17 Josh Hudson- John, The only remaining adversary in this bankruptcy is with American Express. We have settled this matter and have filed the
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                                                                        Asset Cases
Case No.:    13-07552-HB                                                                                              Trustee Name:      (600020) John K. Fort
Case Name:     JAT, INC.                                                                                              Date Filed (f) or Converted (c): 12/21/2013 (f)
                                                                                                                      § 341(a) Meeting Date:    02/19/2014
For Period Ending:     10/30/2017                                                                                     Claims Bar Date: 05/23/2014

                                 notice and motion for settlement with the court. All other adversaries have been settled. Let me know if you need anything additional or have any
                                 questions.

                                 4/17/17 Rechecked Claims

                                 4/25/17 Deposit made for American Express settlement.
                                 Prepare to close case.

                                 4/28/17 TFR submitted

                                 6/9/17 TFR approved
                                 NFR served


      Initial Projected Date Of Final Report (TFR):        12/31/2014                                 Current Projected Date Of Final Report (TFR):              06/09/2017 (Actual)




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                                                             Cash Receipts And Disbursements Record

Case No.:                       13-07552-HB                                                        Trustee Name:                 John K. Fort (600020)
Case Name:                      JAT, INC.                                                          Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                  **-***5822                                                         Account #:                    ******0366 Checking Account
For Period Ending:              10/30/2017                                                         Blanket Bond (per case limit): $3,000,000.00
                                                                                                   Separate Bond (if applicable): N/A



        1                 2                         3                                          4                                        5                 6                      7

   Transaction       Check or            Paid To / Received From             Description of Transaction          Uniform          Deposit            Disbursement        Account Balance
      Date            Ref. #                                                                                    Tran. Code          $                      $

   03/18/2014                       LINDER INDUSTRIAL                 Acct #101; Payment #1; PAYMENT OF                                     195.26                                    195.26
                                    MACHINERY CO                      OUTSTANDING A/R
                         {5}                                          Acct #101; Payment #1; PAYMENT OF         1129-000                                                              195.26
                                                                      OUTSTANDING A/R
                                                                                                     $195.26
   03/18/2014                       MAGNOLIA FINANCIAL INC            Acct #102; Payment #1; PAYMENT OF                                     723.15                                    918.41
                                                                      OUTSTANDING A/R.
                         {5}                                          Acct #102; Payment #1; PAYMENT OF         1129-000                                                              918.41
                                                                      OUTSTANDING A/R.
                                                                                                     $723.15
   03/18/2014            {16}       KANSAS CITY LIFE                  REFUND ON GROUP LIFE                      1229-000                    317.51                                   1,235.92
                                    INSURANCE COMPANY                 INSURANCE POLICY
   03/31/2014                       Rabobank, N.A.                    Bank and Technology Services Fee          2600-000                                       10.00                 1,225.92

   04/14/2014                       WILLIAMS SCOTSMAN, INC            Acct #103; Payment #1; A/R PAYMENT                                     55.65                                   1,281.57

                         {5}                                          Acct #103; Payment #1; A/R PAYMENT        1129-000                                                             1,281.57
                                                                                                      $55.65

{ } Asset Reference(s)          UST Form 101-7-TDR ( 10 /1/2010)                                                                                           ! - transaction has not been cleared
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                                                             Cash Receipts And Disbursements Record

Case No.:                       13-07552-HB                                                          Trustee Name:                 John K. Fort (600020)
Case Name:                      JAT, INC.                                                            Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                  **-***5822                                                           Account #:                    ******0366 Checking Account
For Period Ending:              10/30/2017                                                           Blanket Bond (per case limit): $3,000,000.00
                                                                                                     Separate Bond (if applicable): N/A



        1                 2                         3                                          4                                          5                  6                     7

   Transaction       Check or            Paid To / Received From             Description of Transaction            Uniform          Deposit            Disbursement        Account Balance
      Date            Ref. #                                                                                      Tran. Code          $                      $

   04/30/2014                       Rabobank, N.A.                    Bank and Technology Services Fee            2600-000                                       10.00                 1,271.57

   05/30/2014                       Rabobank, N.A.                    Bank and Technology Services Fee            2600-000                                       10.00                 1,261.57

   06/03/2014            {17}       BB&T INSURANCE SERVICES,          REFUND ON INSURANCE PREMIUM.                1229-000                    637.99                                   1,899.56
                                    INC.
   06/04/2014                       HILCO                             AUCTION PROCEEDS                                                625,000.00                                   626,899.56

                         {12}                                         OFFICE FURNITURE AND FIXTURES               1129-000                                                         626,899.56
                                                                                                      $455.00
                         {13}                                         MACHINERY AND EQUIPMENT                     1129-000                                                         626,899.56
                                                                                                    $33,976.44
                         {11}                                         VEHICLES                                    1129-000                                                         626,899.56
                                                                                                   $204,350.00
                         {18}                                         DIFFERENCE GUARANTEED GROSS                 1129-000                                                         626,899.56
                                                                      AND ACTUAL SALES
                                                                                                   $386,218.56
   06/11/2014                       Utica Leaseco, LLC                LIEN PAYOFF - EQUIPMENT                     4210-000                                 395,000.00              231,899.56

{ } Asset Reference(s)          UST Form 101-7-TDR ( 10 /1/2010)                                                                                             ! - transaction has not been cleared
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                                                            Cash Receipts And Disbursements Record

Case No.:                      13-07552-HB                                                        Trustee Name:                 John K. Fort (600020)
Case Name:                     JAT, INC.                                                          Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***5822                                                         Account #:                    ******0366 Checking Account
For Period Ending:             10/30/2017                                                         Blanket Bond (per case limit): $3,000,000.00
                                                                                                  Separate Bond (if applicable): N/A



        1                 2                        3                                          4                                        5                  6                     7

   Transaction       Check or           Paid To / Received From             Description of Transaction          Uniform          Deposit          Disbursement          Account Balance
      Date            Ref. #                                                                                   Tran. Code          $                    $

   06/19/2014                      Utica Leaseco, LLC                Remaining funds for lien payoff           4210-000                                 100,000.00              131,899.56

   06/25/2014            101       REPUBLIC BUSINESS CREDIT          PAYMENT OF SECOND LIEN ON                 4210-000                                  47,500.00               84,399.56
                                                                     EQUIPMENT PER SETTLEMENT
                                                                     ORDER DATED 4/1/14. Voided on
                                                                     06/26/2014
   06/26/2014            101       REPUBLIC BUSINESS CREDIT          PAYMENT OF SECOND LIEN ON                 4210-000                                 -47,500.00              131,899.56
                                                                     EQUIPMENT PER SETTLEMENT
                                                                     ORDER DATED 4/1/14. Voided: check
                                                                     issued on 06/25/2014
   06/26/2014            102       REPUBLIC BUSINESS CREDIT          PARTIAL PAYMENT OF JUNIOR LIEN            4210-000                                  42,500.00               89,399.56
                                                                     ON EQUIPMENT PER SETTLEMENT
                                                                     ORDER DATED 4/1/14

   06/30/2014                      Rabobank, N.A.                    Bank and Technology Services Fee          2600-000                                       361.35             89,038.21

   07/31/2014                      Rabobank, N.A.                    Bank and Technology Services Fee          2600-000                                       165.36             88,872.85

   08/29/2014                      Rabobank, N.A.                    Bank and Technology Services Fee          2600-000                                       123.56             88,749.29

   09/30/2014                      Rabobank, N.A.                    Bank and Technology Services Fee          2600-000                                       136.16             88,613.13

   10/31/2014                      Rabobank, N.A.                    Bank and Technology Services Fee          2600-000                                       131.70             88,481.43

{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                                           ! - transaction has not been cleared
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                                                            Cash Receipts And Disbursements Record

Case No.:                      13-07552-HB                                                        Trustee Name:                 John K. Fort (600020)
Case Name:                     JAT, INC.                                                          Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***5822                                                         Account #:                    ******0366 Checking Account
For Period Ending:             10/30/2017                                                         Blanket Bond (per case limit): $3,000,000.00
                                                                                                  Separate Bond (if applicable): N/A



        1                 2                        3                                          4                                        5                6                      7

   Transaction       Check or           Paid To / Received From             Description of Transaction          Uniform          Deposit          Disbursement         Account Balance
      Date            Ref. #                                                                                   Tran. Code          $                    $

   11/28/2014                      Rabobank, N.A.                    Bank and Technology Services Fee          2600-000                                       114.53            88,366.90

   12/31/2014                      Rabobank, N.A.                    Bank and Technology Services Fee          2600-000                                       144.05            88,222.85

   01/30/2015                      Rabobank, N.A.                    Bank and Technology Services Fee          2600-000                                       126.89            88,095.96

   02/27/2015                      Rabobank, N.A.                    Bank and Technology Services Fee          2600-000                                       118.26            87,977.70

   03/20/2015            103       JOHN K. FORT, TRUSTEE             BOND PREMIUM PAYMENT ON                   2300-000                                        50.65            87,927.05
                                                                     LEDGER BALANCE AS OF 03/20/2015
                                                                     FOR CASE #13-07552

   03/31/2015                      Rabobank, N.A.                    Bank and Technology Services Fee          2600-000                                       134.96            87,792.09

   04/30/2015                      Rabobank, N.A.                    Bank and Technology Services Fee          2600-000                                       126.27            87,665.82

   05/29/2015                      Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       121.88            87,543.94

   06/30/2015                      Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       134.31            87,409.63

   07/31/2015                      Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       129.91            87,279.72

   08/31/2015                      Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       121.35            87,158.37

   09/30/2015                      Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       133.73            87,024.64

{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                                          ! - transaction has not been cleared
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                                                             Cash Receipts And Disbursements Record

Case No.:                       13-07552-HB                                                         Trustee Name:                 John K. Fort (600020)
Case Name:                      JAT, INC.                                                           Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                  **-***5822                                                          Account #:                    ******0366 Checking Account
For Period Ending:              10/30/2017                                                          Blanket Bond (per case limit): $3,000,000.00
                                                                                                    Separate Bond (if applicable): N/A



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   Transaction       Check or            Paid To / Received From             Description of Transaction           Uniform          Deposit           Disbursement        Account Balance
      Date            Ref. #                                                                                     Tran. Code          $                     $

   10/30/2015                       Rabobank, N.A.                    Bank and Technology Services Fees          2600-000                                       125.17            86,899.47

   11/30/2015                       Rabobank, N.A.                    Bank and Technology Services Fees          2600-000                                       120.82            86,778.65

   12/31/2015                       Rabobank, N.A.                    Bank and Technology Services Fees          2600-000                                       137.31            86,641.34

   01/29/2016                       Rabobank, N.A.                    Bank and Technology Services Fees          2600-000                                       120.14            86,521.20

   02/25/2016            {19}       ROE CASSIDY COATES &              Fort v Wells Fargo Bank, NA                1241-000                27,779.41                               114,300.61
                                    PRICE, PA
   03/01/2016                       Rabobank, N.A.                    Bank and Technology Services Fees          2600-000                                       121.29           114,179.32

   03/11/2016            104        John K. Fort                      Reimbursement of bond payment paid         2300-000                                        61.25           114,118.07
                                                                      by personal check
   03/28/2016            {20}       Fields Specialty Contractors      Fields Specialty Contractors Preference    1241-000                 3,000.00                               117,118.07
                                                                      Settlement
   03/31/2016                       Rabobank, N.A.                    Bank and Technology Services Fees          2600-000                                       180.42           116,937.65

   04/11/2016            {24}       GilpinGivhan                      Preference/Ozark Materials, LLC            1241-000                 6,000.00                               122,937.65

   04/14/2016            {25}       Bank of America Corp              Adversary Proceeding Settlement Case       1241-000                 9,250.00                               132,187.65
                                                                      No. 15-80207

{ } Asset Reference(s)          UST Form 101-7-TDR ( 10 /1/2010)                                                                                           ! - transaction has not been cleared
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                                                             Cash Receipts And Disbursements Record

Case No.:                       13-07552-HB                                                        Trustee Name:                 John K. Fort (600020)
Case Name:                      JAT, INC.                                                          Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                  **-***5822                                                         Account #:                    ******0366 Checking Account
For Period Ending:              10/30/2017                                                         Blanket Bond (per case limit): $3,000,000.00
                                                                                                   Separate Bond (if applicable): N/A



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   Transaction       Check or            Paid To / Received From             Description of Transaction          Uniform          Deposit           Disbursement        Account Balance
      Date            Ref. #                                                                                    Tran. Code          $                     $

   04/14/2016            {26}       BB&T                              Adversary Proceeding 15-80205             1241-000                 3,907.00                               136,094.65

   04/14/2016            {27}       SunTrust Banks, Inc               Preference Settlement Adversary No 15-    1241-000                 2,500.00                               138,594.65
                                                                      80208
   04/14/2016            {28}       TD Bank, N A                      Preference Settlement, Adversary          1241-000                20,000.00                               158,594.65
                                                                      Proceeding 15-80202
   04/29/2016                       Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       190.89           158,403.76

   05/15/2016            {20}       Fields Specialty Contractors      3,000. Payment of 8,500. Settlement       1241-000                 3,000.00                               161,403.76
                                                                      (03/09/16 Order)
   05/16/2016            105        ROE CASSIDY COATES &              TRUSTEE ATTORNEY FEES PER                 3210-000                                 22,711.76              138,692.00
                                    PRICE, PA                         ORDER DATED 5/6/16
   05/16/2016            106        ROE CASSIDY COATES &              TRUSTEE ATTORNEY EXPENSES                 3120-000                                  6,224.91              132,467.09
                                    PRICE, PA                         PER ORDER DATED 5/6/16
   05/31/2016                       Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       210.15           132,256.94




{ } Asset Reference(s)          UST Form 101-7-TDR ( 10 /1/2010)                                                                                          ! - transaction has not been cleared
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                                                            Cash Receipts And Disbursements Record

Case No.:                      13-07552-HB                                                        Trustee Name:                 John K. Fort (600020)
Case Name:                     JAT, INC.                                                          Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***5822                                                         Account #:                    ******0366 Checking Account
For Period Ending:             10/30/2017                                                         Blanket Bond (per case limit): $3,000,000.00
                                                                                                  Separate Bond (if applicable): N/A



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   Transaction       Check or           Paid To / Received From             Description of Transaction          Uniform          Deposit          Disbursement         Account Balance
      Date            Ref. #                                                                                   Tran. Code          $                    $

   06/20/2016            107       ROE CASSIDY COATES &              TRUSTEE ATTORNEY FEES PER                 3210-000                                  3,916.67              128,340.27
                                   PRICE, PA                         ORDER DATED 6/1/16. CHECK
                                                                     VOIDED 6/20/16. REASON:
                                                                     INCORRECT PAYEE. Voided on
                                                                     06/20/2016
   06/20/2016            107       ROE CASSIDY COATES &              TRUSTEE ATTORNEY FEES PER                 3210-000                                 -3,916.67              132,256.94
                                   PRICE, PA                         ORDER DATED 6/1/16. CHECK
                                                                     VOIDED 6/20/16. REASON:
                                                                     INCORRECT PAYEE. Voided: check
                                                                     issued on 06/20/2016
   06/20/2016            108       ROE CASSIDY COATES &              TRUSTEE ATTORNEY EXPENSES                 3220-000                                  1,056.65              131,200.29
                                   PRICE, PA                         PER ORDER DATED 6/1/16. CHECK
                                                                     VOIDED 6/20/16. REASON:
                                                                     INCORRECT PAYEE. Voided on
                                                                     06/20/2016
   06/20/2016            108       ROE CASSIDY COATES &              TRUSTEE ATTORNEY EXPENSES                 3220-000                                 -1,056.65              132,256.94
                                   PRICE, PA                         PER ORDER DATED 6/1/16. CHECK
                                                                     VOIDED 6/20/16. REASON:
                                                                     INCORRECT PAYEE. Voided: check
                                                                     issued on 06/20/2016


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                                          ! - transaction has not been cleared
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Case No.:                       13-07552-HB                                                        Trustee Name:                 John K. Fort (600020)
Case Name:                      JAT, INC.                                                          Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                  **-***5822                                                         Account #:                    ******0366 Checking Account
For Period Ending:              10/30/2017                                                         Blanket Bond (per case limit): $3,000,000.00
                                                                                                   Separate Bond (if applicable): N/A



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   Transaction       Check or            Paid To / Received From             Description of Transaction          Uniform          Deposit           Disbursement        Account Balance
      Date            Ref. #                                                                                    Tran. Code          $                     $

   06/20/2016            109        BRUNER POWELL WALL &              TRUSTEE ATTORNEY FEES PER                 3110-000                                  3,916.67              128,340.27
                                    MULLINS, LLC                      ORDER DATED 6/1/16
   06/20/2016            110        BRUNER POWELL WALL &              TRUSTEE ATTORNEY EXP PER                  3220-000                                  1,056.65              127,283.62
                                    MULLINS, LLC                      ORDER DATED 6/1/16
   06/30/2016                       Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       207.04           127,076.58

   07/29/2016                       Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       176.20           126,900.38

   08/11/2016            {20}       Fields Specialty Contractors      Preference Settlement                     1241-000                 2,500.00                               129,400.38

   08/25/2016            {29}       Capital One                       Adversary 15-80200 Settlement of          1241-000                30,000.00                               159,400.38
                                                                      Transfers/Preferences
   08/31/2016            {30}       RoeCassidyCoates & Price, PA      Settlement of Adversary 15-80201          1241-000                40,000.00                               199,400.38

   08/31/2016                       Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       209.67           199,190.71

   09/30/2016                       Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       283.81           198,906.90

   10/31/2016                       Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       275.80           198,631.10




{ } Asset Reference(s)          UST Form 101-7-TDR ( 10 /1/2010)                                                                                          ! - transaction has not been cleared
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                                                            Cash Receipts And Disbursements Record

Case No.:                      13-07552-HB                                                        Trustee Name:                 John K. Fort (600020)
Case Name:                     JAT, INC.                                                          Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***5822                                                         Account #:                    ******0366 Checking Account
For Period Ending:             10/30/2017                                                         Blanket Bond (per case limit): $3,000,000.00
                                                                                                  Separate Bond (if applicable): N/A



        1                 2                        3                                          4                                        5                6                      7

   Transaction       Check or           Paid To / Received From             Description of Transaction          Uniform          Deposit          Disbursement         Account Balance
      Date            Ref. #                                                                                   Tran. Code          $                    $

   11/03/2016            111       ROE CASSIDY COATES &              TRUSTEE ATTORNEY FEES                     3110-000                                 31,762.80              166,868.30
                                   PRICE, PA                         PURSUANT TO ORDER DATED
                                                                     11/2/16

   11/03/2016            112       ROE CASSIDY COATES &              TRUSTEE ATTORNEY EXPENSES                 3120-000                                  1,275.94              165,592.36
                                   PRICE, PA                         PURSUANT TO ORDER DATED
                                                                     11/2/16

   11/28/2016            113       INSURANCE PARTNERS                Bond Premium Payment Entry Error          2300-000                                       152.47           165,439.89
                                   AGENCY, INC.                      Voided on 11/29/2016
   11/28/2016            114       John K. Fort                      Bond Premium Payment Entry Error          2300-000                                       152.47           165,287.42
                                                                     Voided on 11/29/2016
   11/29/2016            113       INSURANCE PARTNERS                Bond Premium Payment Entry Error          2300-000                                     -152.47            165,439.89
                                   AGENCY, INC.                      Voided: check issued on 11/28/2016
   11/29/2016            114       John K. Fort                      Bond Premium Payment Entry Error          2300-000                                     -152.47            165,592.36
                                                                     Voided: check issued on 11/28/2016
   11/30/2016                      Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       280.24           165,312.12

   12/30/2016                      Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       237.12           165,075.00

   01/31/2017                      Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       253.22           164,821.78

{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                                          ! - transaction has not been cleared
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                                                             Cash Receipts And Disbursements Record

Case No.:                       13-07552-HB                                                        Trustee Name:                 John K. Fort (600020)
Case Name:                      JAT, INC.                                                          Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                  **-***5822                                                         Account #:                    ******0366 Checking Account
For Period Ending:              10/30/2017                                                         Blanket Bond (per case limit): $3,000,000.00
                                                                                                   Separate Bond (if applicable): N/A



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   Transaction       Check or            Paid To / Received From             Description of Transaction          Uniform          Deposit           Disbursement        Account Balance
      Date            Ref. #                                                                                    Tran. Code          $                     $

   02/28/2017                       Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       221.26           164,600.52

   03/14/2017            115        John K. Fort                      Reimbursement to John Fort for            2300-000                                        92.49           164,508.03
                                                                      Insurance Partners
   03/31/2017                       Rabobank, N.A.                    Bank and Technology Services Fees         2600-000                                       244.57           164,263.46

   04/25/2017            {31}       American Express Travel           Preference/Fraudulent Transfer            1241-000                70,000.00                               234,263.46
                                    Related Services                  Litigation 16-80016-HB Settlement
   04/25/2017            {31}       American Express Travel           Preference/Fraudulent Transfer            1241-000            140,000.00                                  374,263.46
                                    Related Services                  Litigation 16-80016-HB Settlement
   08/03/2017            116        MCABEE, SCHWARTZ,                 MCABEE, SCHWARTZ, HALLIDAY &              3310-000                                       262.50           374,000.96
                                    HALLIDAY & CO.                    CO.13-07552JAT,
                                                                      INC.$262.50$262.50Contact:

   08/03/2017            117        Roe, Cassidy, Coates & Price, P. Roe, Cassidy, Coates & Price, P. A.13-     3220-000                                  4,499.38              369,501.58
                                    A.                               07552JAT,
                                                                     INC.$4,499.38$4,499.38Contact:

   08/03/2017            118        John K. Fort                      Combined trustee compensation &                                                    55,101.45              314,400.13
                                                                      expense dividend payments.



{ } Asset Reference(s)          UST Form 101-7-TDR ( 10 /1/2010)                                                                                          ! - transaction has not been cleared
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                                                            Cash Receipts And Disbursements Record

Case No.:                      13-07552-HB                                                          Trustee Name:                 John K. Fort (600020)
Case Name:                     JAT, INC.                                                            Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***5822                                                           Account #:                    ******0366 Checking Account
For Period Ending:             10/30/2017                                                           Blanket Bond (per case limit): $3,000,000.00
                                                                                                    Separate Bond (if applicable): N/A



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   Transaction       Check or           Paid To / Received From             Description of Transaction            Uniform          Deposit          Disbursement         Account Balance
      Date            Ref. #                                                                                     Tran. Code          $                    $

                                                                     Claims Distribution - Fri, 04-28-2017       2100-000                                                        314,400.13
                                                                                                   $52,493.30
                                                                     Claims Distribution - Fri, 04-28-2017       2200-000                                                        314,400.13
                                                                                                    $2,608.15
   08/03/2017            119       Roe, Cassidy, Coates & Price, P. Roe, Cassidy, Coates & Price, P. A.13-       3210-000                                 84,000.00              230,400.13
                                   A.                               07552JAT,
                                                                    INC.$84,000.00$84,000.00Contact:

   08/03/2017            120       SC Dept of Rev. & Tax             SC Dept of Rev. & Tax13-07552JAT,           5800-000                                  6,247.13              224,153.00
                                                                     INC.$6,247.13$6,247.13Contact:
                                                                     johnkfort@gmail.com

   08/03/2017            121       Internal Revenue Service          Internal Revenue Service Centralized        5800-000                                 80,221.22              143,931.78
                                   Centralized Insolvency            Insolvency Operation13-07552JAT,
                                   Operation                         INC.$80,221.22$80,221.22Contact:
                                                                     johnkfort@gmail.com
   08/03/2017            122       Penske Truck Leasing Co., L.P.    Penske Truck Leasing Co., L.P.13-           7100-000                                       115.93           143,815.85
                                                                     07552JAT,
                                                                     INC.$2,427.99$2,427.99Contact:


{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                                            ! - transaction has not been cleared
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                                                            Cash Receipts And Disbursements Record

Case No.:                      13-07552-HB                                                        Trustee Name:                 John K. Fort (600020)
Case Name:                     JAT, INC.                                                          Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***5822                                                         Account #:                    ******0366 Checking Account
For Period Ending:             10/30/2017                                                         Blanket Bond (per case limit): $3,000,000.00
                                                                                                  Separate Bond (if applicable): N/A



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   Transaction       Check or           Paid To / Received From             Description of Transaction          Uniform          Deposit          Disbursement         Account Balance
      Date            Ref. #                                                                                   Tran. Code          $                    $

   08/03/2017            123       Weissker Manufacturing LLC        Weissker Manufacturing LLC13-             7100-000                                  3,937.08              139,878.77
                                                                     07552JAT,
                                                                     INC.$82,461.85$82,461.85Contact:

   08/03/2017            124       MORRIS BUSINESS                   MORRIS BUSINESS SOLUTIONS13-              7100-000                                        11.29           139,867.48
                                   SOLUTIONS                         07552JAT, INC.$236.34$236.34Contact:
                                                                     johnkfort@gmail.com

   08/03/2017            125       Batson Accounting and Tax         Batson Accounting and Tax13-              7100-000                                        44.76           139,822.72
                                                                     07552JAT, INC.$937.49$937.49Contact:
                                                                     johnkfort@gmail.com

   08/03/2017            126       SunTrust Bank Attn: Support       SunTrust Bank Attn: Support               7100-000                                       553.11           139,269.61
                                   Services                          Services13-07552JAT,
                                                                     INC.$11,584.95$11,584.95Contact:
                                                                     johnkfort@gmail.com
   08/03/2017            127       ENNIS PAINT, INC. DBA ENNIS       ENNIS PAINT, INC. DBA ENNIS               7100-000                                  5,726.17              133,543.44
                                   TRAFFIC SAFETY SOUTIONS           TRAFFIC SAFETY SOUTIONS C/O
                                   C/O NCS                           NCS13-07552JAT,
                                                                     INC.$119,934.69$119,934.69Contact:
                                                                     johnkfort@gmail.com



{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                                          ! - transaction has not been cleared
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                                                            Cash Receipts And Disbursements Record

Case No.:                      13-07552-HB                                                        Trustee Name:                 John K. Fort (600020)
Case Name:                     JAT, INC.                                                          Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***5822                                                         Account #:                    ******0366 Checking Account
For Period Ending:             10/30/2017                                                         Blanket Bond (per case limit): $3,000,000.00
                                                                                                  Separate Bond (if applicable): N/A



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   Transaction       Check or           Paid To / Received From             Description of Transaction          Uniform          Deposit          Disbursement         Account Balance
      Date            Ref. #                                                                                   Tran. Code          $                    $

   08/03/2017            128       PAUL TRIPPE                       PAUL TRIPPE13-07552JAT,                   7100-000                                  3,990.36              129,553.08
                                                                     INC.$83,578.21$83,578.21Contact:
                                                                     johnkfort@gmail.com

   08/03/2017            129       PAUL TRIPPE                       PAUL TRIPPE13-07552JAT,                   7100-000                                       858.96           128,694.12
                                                                     INC.$17,991.00$17,991.00Contact:
                                                                     johnkfort@gmail.com

   08/03/2017            130       GENE D. MORIN,                    GENE D. MORIN, CONSERVATOR                7100-000                                  5,968.01              122,726.11
                                   CONSERVATOR FOR KATELIN           FOR KATELIN TRIPPE JACQUELINE
                                   TRIPPE JACQUELINE H.              H. PATTERSON, ESQ.13-07552JAT,
                                   PATTERSON, ESQ.                   INC.$125,000.00$125,000.00Contact:
                                                                     johnkfort@gmail.com
   08/03/2017            131       Kennison Dudley & Crawford        Kennison Dudley & Crawford13-             7100-000                                       307.11           122,419.00
                                                                     07552JAT,
                                                                     INC.$6,432.50$6,432.50Contact:

   08/03/2017            132       Ozark Materials, LLC c/o George Ozark Materials, LLC c/o George W.          7100-000                                  7,309.37              115,109.63
                                   W. Thomas Gilpin Givhan, PC     Thomas Gilpin Givhan, PC13-07552JAT,
                                                                   INC.$153,094.77$153,094.77Contact:
                                                                   johnkfort@gmail.com



{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                                          ! - transaction has not been cleared
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                                                            Cash Receipts And Disbursements Record

Case No.:                      13-07552-HB                                                        Trustee Name:                 John K. Fort (600020)
Case Name:                     JAT, INC.                                                          Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                 **-***5822                                                         Account #:                    ******0366 Checking Account
For Period Ending:             10/30/2017                                                         Blanket Bond (per case limit): $3,000,000.00
                                                                                                  Separate Bond (if applicable): N/A



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   Transaction       Check or           Paid To / Received From             Description of Transaction          Uniform          Deposit          Disbursement         Account Balance
      Date            Ref. #                                                                                   Tran. Code          $                    $

   08/03/2017            133       FLINT TRADING INC ENNIS-   FLINT TRADING INC ENNIS-FLINT                    7100-000                                       712.89           114,396.74
                                   FLINT ATTN: TED NAVILSKAS, ATTN: TED NAVILSKAS, GENERAL
                                   GENERAL COUNSEL            COUNSEL13-07552JAT,
                                                              INC.$14,931.55$14,931.55Contact:
                                                              johnkfort@gmail.com
   08/03/2017            134       ENNIS PAINT INC ENNIS-            ENNIS PAINT INC ENNIS-FLINT ATTN:         7100-000                                 85,923.50               28,473.24
                                   FLINT ATTN: TED NAVILSKAS,        TED NAVILSKAS, GENERAL
                                   GENERAL COUNSEL                   COUNSEL13-07552JAT,
                                                                     INC.$1,799,668.25$1,799,668.25Contac
                                                                     t: johnkfort@gmail.com
   08/03/2017            135       Companion Property and            Companion Property and Casualty           7100-000                                 26,401.80                  2,071.44
                                   Casualty Insurance Company        Insurance Company c/o John Northrop
                                   c/o John Northrop National        National Claim Services13-07552JAT,
                                   Claim Services                    INC.$552,985.87$552,985.87Contact:
                                                                     johnkfort@gmail.com
   08/03/2017            136       BLYTHE BROTHERS ASPHALT           BLYTHE BROTHERS ASPHALT CO                7100-000                                  2,071.44                       0.00
                                   CO LLC ATTN ROBERT                LLC ATTN ROBERT MCKINNEY13-
                                   MCKINNEY                          07552JAT,
                                                                     INC.$43,386.40$43,386.40Contact:



{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                                                          ! - transaction has not been cleared
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                                                          Cash Receipts And Disbursements Record

Case No.:                    13-07552-HB                                                              Trustee Name:                 John K. Fort (600020)
Case Name:                   JAT, INC.                                                                Bank Name:                    Rabobank, N.A.
Taxpayer ID #:               **-***5822                                                               Account #:                    ******0366 Checking Account
For Period Ending:           10/30/2017                                                               Blanket Bond (per case limit): $3,000,000.00
                                                                                                      Separate Bond (if applicable): N/A



        1                2                       3                                                4                                        5                 6                      7

   Transaction       Check or         Paid To / Received From                Description of Transaction             Uniform          Deposit            Disbursement        Account Balance
      Date            Ref. #                                                                                       Tran. Code          $                      $

                                                                COLUMN TOTALS                                                              984,865.97        984,865.97                      $0.00
                                                                      Less: Bank Transfers/CDs                                                   0.00              0.00
                                                                Subtotal                                                                   984,865.97        984,865.97
                                                                      Less: Payments to Debtors                                                                    0.00
                                                                NET Receipts / Disbursements                                           $984,865.97          $984,865.97




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                                                 ! - transaction has not been cleared
                                Case 13-07552-hb          Doc 133    Filed 11/17/17 Entered 11/17/17 15:36:55                          Desc Main
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                                                                                                                                                                Exhibit 9
                                                                                  Form 2                                                                        Page: 16

                                                        Cash Receipts And Disbursements Record

Case No.:                  13-07552-HB                                                      Trustee Name:                 John K. Fort (600020)
Case Name:                 JAT, INC.                                                        Bank Name:                    Rabobank, N.A.
Taxpayer ID #:             **-***5822                                                       Account #:                    ******0366 Checking Account
For Period Ending:         10/30/2017                                                       Blanket Bond (per case limit): $3,000,000.00
                                                                                            Separate Bond (if applicable): N/A


                                        Net Receipts:          $984,865.97
                           Plus Gross Adjustments:                     $0.00
                         Less Payments to Debtor:                      $0.00
                 Less Other Noncompensable Items:                      $0.00

                                          Net Estate:          $984,865.97




                                                                    TOTAL - ALL ACCOUNTS                         NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                                    ******0366 Checking Account                        $984,865.97           $984,865.97          $0.00

                                                                                                                         $984,865.97              $984,865.97               $0.00




                     UST Form 101-7-TDR (10 /1/2010)
